                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


   DAMIAN STINNIE, MELISSA ADAMS,
   and ADRAINNE JOHNSON, individually,
   and on behalf of all others similarly situated;
   WILLIEST BANDY, and BRIANNA                           Civ. No: 3:16-cv-00044
   MORGAN, individually, and on behalf of all
   others similarly situated,

         Plaintiffs,

    v.

   RICHARD D. HOLCOMB, in his official
   capacity as the Commissioner of the
   VIRGINIA DEPARTMENT OF MOTOR
   VEHICLES,

         Defendant.


              BRIEF IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

           Defendant DMV Commissioner Richard Holcomb moved to dismiss by raising arguments

  nearly indistinguishable from his opposition to Plaintiffs’ motion for preliminary injunction. His

  arguments are no more successful here. For many of the same reasons why the Court properly

  entered an injunction, the Court should deny the Commissioner’s motion to dismiss.

           As before, the Commissioner ignores Chief Judge Gregory’s dissent in the Fourth Circuit

  appeal. Stinnie v. Holcomb, 734 F. App’x 858, 863 (4th Cir. 2018) (Gregory, C.J., dissenting).

  Chief Judge Gregory meticulously rejected the Commissioner’s procedural arguments. The Fourth

  Circuit majority did not disagree but simply declined to reach those issues. The Commissioner also

  fails to acknowledge other courts that declared unconstitutional a driver’s license suspension

  scheme much like Virginia’s. See, e.g., Robinson v. Purkey, 2018 U.S. Dist. LEXIS 177769 (M.D.

  Tenn. Oct. 16, 2018); Hixson v. Haslam, 2018 U.S. Dist. LEXIS 114622 (M.D. Tenn. July 2,

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  2018); Fowler v. Johnson, 2017 U.S. Dist. LEXIS 205363 (E.D. Mich. Dec. 14, 2017).

          Aligning with what these other jurists have concluded, Plaintiffs can bring this action.

  Plaintiffs properly challenge the unconstitutional scheme in which Virginia Code § 46.2-395

  punishes Virginia drivers who are willing but fiscally unable to pay court debts, and thus treats

  those poor Virginians differently from the financially well-off with means to satisfy court debts.

          The Attorney General recently remarked: “We cannot have a justice system that determines

  fairness and freedom based on wealth and means. . . . [T]hat [is] wrong and unjust.”1 Yet “wrong

  and unjust” is precisely the scheme under Virginia Code § 46.2-395. Plaintiffs properly brought

  claims challenging that scheme. The Court should deny the Commissioner’s motion.

                                         LEGAL STANDARD

          Rule 12(b)(1). Dismissal for lack of subject matter jurisdiction may occur “only if the material

  jurisdictional facts are not in dispute and the moving party is entitled to prevail as a matter of law.”

  Richmond, Fredericksburg & Potomac Railroad Co. v. United States, 945 F.2d 765, 768 (4th Cir.

  1991). The Court accepts the Complaint as “evidence on the issue and may consider evidence outside

  the pleadings.” Velasco v. Government of Indonesia, 370 F.3d 392, 398 (4th Cir. 2004).

          Rule 12(b)(6). A motion to dismiss under Rule 12(b)(6) should only be granted if the

  Complaint does not “contain sufficient factual matter, accepted as true,” to “allow[] the court to draw

  the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009). A court must accept the allegations of the Complaint as true and construe them

  in the light most favorable to the Plaintiffs. Gladstone Realtors v. Bellwood, 441 U.S. 91, 109 (1979).

          Rule 12(b)(7). Rule 12(b)(7) permits dismissal for failure to join a party. “To determine

  whether a party should be joined, Rule 19 of the Federal Rules of Civil Procedure sets forth a two-step



  1
    Interview of Mark Herring at 9:39-10:04, HearSay with Cathy Lewis, WHRO PUBLIC MEDIA
  (October 30, 2018), available at https://goo.gl/TJ5z1n (last visited January 3, 2019).
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  inquiry, examining: (1) whether the party is ‘necessary’ to the action under Rule 19(a); and (2) whether

  the party is ‘indispensable’ under Rule 19(b). . . . The burden of proof rests on the party raising the

  defense.” Am. Gen. Life & Accident Ins. Co. v. Wood, 429 F.3d 83, 92 (4th Cir. 2005).

                                              ARGUMENT

  I.      The Amended Complaint is procedurally proper.

          The Commissioner puts forward procedural arguments that are—except for an

  indispensable party argument, see infra Section I.D.—lifted almost verbatim from his preliminary

  injunction papers. Plaintiffs ask the Court to affirm its recent order that rejected these arguments.

  See Doc. 126 (memorandum opinion granting preliminary injunction).

       A. This case is not the “limited circumstances” in which Rooker-Feldman applies.

          The Court has rejected the Commissioner’s Rooker-Feldman doctrine arguments. Doc. 126

  at 7-9. It should do so again. The doctrine “applies only in ‘limited circumstances,’ where a party

  in effect seeks to take an appeal of an unfavorable state-court decision to a lower federal court.”

  Lance v. Dennis, 546 U.S. 459, 466 (2006). “To emphasize the narrow role that the Rooker-

  Feldman doctrine is to play, the Supreme Court has noted repeatedly that, since the decisions in

  Rooker and Feldman, it has never applied the doctrine to deprive a district court of subject matter

  jurisdiction.” Thana v. Bd. of License Comm’rs for Charles Cty., Md., 827 F.3d 314, 320 (4th Cir.

  2016). “Rooker-Feldman is an exceedingly narrow doctrine that has no relevance to the facts of

  this case.” Stinnie v. Holcomb, 734 F. App’x 858, 868 (4th Cir. 2018) (Gregory, C.J., dissenting).

          First, the Commissioner lends much credence to an outdated Rooker-Feldman standard that

  the Fourth Circuit has rejected. He argues that Rooker-Feldman applies when a federal court must

  “determine that the [state] court judgment was erroneously entered or must take action that would

  render the judgment ineffectual.” Doc. 105 at 9 (citing Jordahl v. Democratic Party of Va., 122

  F.3d 192, 202 (4th Cir. 1997)). But following Exxon Mobile, Lance, and other Supreme Court

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  decisions emphasizing the narrowness of the doctrine, the Fourth Circuit has rejected this standard

  as outdated. Vicks v. Ocwen Loan Servicing, LLC, 676 F. App’x 167, 168 (4th Cir. 2017) (per

  curiam) (reversing district court’s dismissal of plaintiff’s claims under the Rooker-Feldman

  doctrine). As the Fourth Circuit recently clarified, “the mere fact that a ruling favorable to the

  federal plaintiff may call into question the correctness of a state court judgment has no bearing on

  the federal court’s jurisdiction over the plaintiff’s claims under Rooker-Feldman.” Id.

         Under the proper standard, Rooker-Feldman does not apply here because this case is not

  an attempt to appeal a decision from a state court to a federal court. Thus, “by definition,” the

  Rooker-Feldman doctrine has no application here because Plaintiffs do not ask this Court to

  exercise appellate jurisdiction over a final state court judgment. Stinnie, 734 F. App’x at 870.

         Instead, Plaintiffs present an independent claim. “‘If a federal plaintiff present[s] [an]

  independent claim,’ it is not an impediment to the exercise of federal jurisdiction that the ‘same or

  a related question’ was earlier aired between the parties in state court.” Skinner v. Switzer, 562

  U.S. 521, 532 (2011). The Supreme Court has contemplated the very situation presented here: “[a]

  state-court decision is not reviewable by lower federal courts, but a statute or rule governing the

  decision may be challenged in a federal action.” Id. In other words, the doctrine does not apply

  when a party “challenge[s] the validity of statutes or rules governing the state court decision or the

  constitutionality of the process by which a state court judgment is reached.” Stinnie, 734 F. App’x

  at 869 (quoting Skinner, 562 U.S. at 532). That is the case here. Plaintiffs do not challenge their

  underlying “convictions, the applicability of the assessed payments, or their failure to make the

  required payments.” Id. at 870. They independently challenge as unconstitutional a Virginia statute

  that automatically imposes a deprivation without judicial decision-making and that involves action

  by a state administrative agency. Skinner, 562 U.S. at 532.



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         Rooker-Feldman does not apply also because this case relates to executive, administrative

  actions. The Commissioner does not address this argument. Nor can he. “[S]tate administrative

  and executive actions are not covered by the doctrine.” Thana, 827 F.3d at 320. “[T]he [Rooker-

  Feldman] doctrine has no application to judicial review of executive action, including

  determinations made by a state administrative agency.” Verizon Md. Inc. v. Pub. Serv. Comm’n of

  Md., 535 U.S. 635, 644 n.3 (2002). The process challenged by Plaintiffs consists of non-judicial

  state actors who “simply engage in ministerial action”—which does not trigger the Rooker-

  Feldman bar. Feldman, 460 U.S. at 479. Thus, Rooker-Feldman has no application here.

     B. Plaintiffs have Article III standing.

         The Commissioner disputes whether Plaintiffs’ injury is “causally connected to the

  complained-of conduct” and “will likely be redressed” if Plaintiffs prevail. Libertarian Party of

  Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013). Plaintiffs have Article III standing, because “the

  Commissioner is at least partially responsible for Plaintiffs’ harms, and Plaintiffs’ requested relief

  would eliminate most, if not all, of the harms caused by [Code] § 46.2-395.” Doc. 126 at 9.

         Causal Connection. To meet causal connection, Plaintiffs “must show that their injuries

  are ‘fairly traceable’” to the Commissioner’s conduct. Stinnie, 734 F. App’x at 871. Plaintiffs need

  only show a “genuine nexus” between their injuries and the Commissioner’s conduct. Friends of

  the Earth, Inc. v. Gaston Copper Recycling Corp., 204 F.3d 149, 161 (4th Cir. 2000). Plaintiffs

  can do more than that here: the previous suspension of their licenses, that continued suspension,

  and the lack of reinstatement without imposing fees are all directly traceable to the Commissioner.

         The Commissioner’s “challenged action” need only be responsible “in part . . . for

  frustrating [the plaintiff’s] attempt to fully assert his or her rights.” Stinnie, 734 F. App’x at 871

  (citation omitted). “[A] defendant’s actions need not be the ‘very last step in the chain of causation’



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  to establish” traceability.” Glavin v. Clinton, 19 F. Supp. 2d 543, 550 (E.D. Va. 1998) (quoting

  Bennett v. Spear, 520 U.S. 154, 168-69 (1997)). The traceability standard remains true

  “notwithstanding the presence of another proximate cause” for a plaintiff’s injuries. Stinnie, 734

  F. App’x at 871; see also Libertarian Party, 718 F.3d at 315-16 (rejecting “the stringent proximate

  cause standard, derived from principles of tort law,” for an Article III standing analysis).

         The Commissioner has such a “genuine nexus” to Plaintiffs’ injuries. His assertions about

  his minor role in the suspension scheme are factually incorrect. License suspensions happen

  automatically under an algorithm contained within the court and DMV computer systems, with no

  judicial determination or entry of an order of suspension. Doc. 84-1 (declaration of Llezelle

  Dugger). The courts use the state’s Financial Management System (the “FMS”) as part of its Court

  Automated Information System (“CAIS”), and when a scheduled payment toward court debt is not

  received within the required time, the CAIS/FMS automatically transmits an electronic record to

  the DMV showing an individual’s account in default. Id. at 2 ¶¶ 5-6. The DMV then updates the

  account holder’s license status in its license database to comport with the FMS electronic

  transmission, thus issuing the suspension for all practical purposes, including for law enforcement,

  prosecutors, insurance companies, and other government entities. Doc. 84 ¶ 50.

         Statutory and common law also belies the Commissioner’s protests about his lack of

  involvement. Without the Commissioner’s actions, Plaintiffs would have their licenses. Va. Code

  § 46.2-395(B) (license reinstatement only after payment to the Commissioner of a fee); id. § 46.2-

  395(D) (Commissioner can return licenses after evidence of payment is submitted); id. § 46.2-200

  (“The [DMV] shall be responsible for . . . the issuance, suspension, and revocation of driver’s

  licenses . . . .”). That’s why Virginia courts have held that the DMV, not the courts, is the ultimate

  party who revokes or suspends the license. E.g., Plummer v. Commonwealth, 408 S.E.2d 765, 766



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  (1991) (“The DMV agent agreed that appellant’s license remained valid until the DMV order [of

  suspension] was actually executed.”). The Commissioner has a sufficient connection to Plaintiffs’

  inability to retain their licenses. Doc. 84-1 ¶ 7.

          Redressability. Redressability is satisfied if “the relief being sought ‘would abat[e] current

  violations and preven[t] future ones,’ such as by deterring future violations.” Stinnie, 734 F. App’x

  at 872 (quoting Friends of the Earth, 528 U.S. at 188). “As the Supreme Court and the [Fourth

  Circuit] have held, an injury is redressible if a favorable court ruling would frustrate the

  implementation of the challenged statute or action.” Id. at 873 (citing cases). A favorable decision

  is likely to redress Plaintiffs’ injuries. “Indeed, the removal of the reinstatement fees alone satisfies

  the redressability requirement.” Id. Moreover, granting Plaintiffs’ requested injunctive relief

  would require this Court “to have decided that the suspensions were effectuated pursuant to an

  unconstitutional process,” and so “the suspensions would no longer be valid or enforceable”

  because they were “obtained through unlawful means.” Id. at 874.

          This relief would thus satisfy redressability because “even in a technical, legal sense,

  Plaintiffs’ licenses would no longer be suspended.” Id. And because “[t]here is nothing maintained

  in the court file reflecting that a person’s license has been suspended for non-payment,” Doc. 90-

  1 at 3 ¶ 8, a favorable ruling against the Commissioner would “reduc[e] to some extent” the “risk”

  of Plaintiffs suffering future injury of being charged with driving on unconstitutionally-suspended

  licenses. See Massachusetts v. EPA, 549 U.S. 497, 526 (2007). Plaintiffs have Article III standing.

      C. The Commissioner is not immune to suit because Ex parte Young applies.

          Eleventh Amendment immunity does not protect the Commissioner from suit because, as

  the Court held, “Ex Parte Young provides an exception, permitting suits challenging state officials

  who have some duty regarding enforcement of an allegedly unconstitutional act.” Doc. 126 at 12.



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  Ex Parte Young applies because the Commissioner has a “special relation” to the challenged

  statute. S.C. Wildlife Fed’n v. Limehouse, 549 F.3d 324, 333 (4th Cir. 2008).

         The Commissioner hangs his hat on the “special relation” language, but it is not enough.

  See Doc. 105 at 14. The term “special” is something of a misnomer: the connection “need not be

  qualitatively special.” S.C. Wildlife, 549 F.3d at 333. “[R]ather, ‘special relation’ under Ex parte

  Young has served as a measure of proximity to and responsibility for the challenged state action.”

  Id. The “special relation” requirement rarely prevents Ex Parte Young’s application. “Primarily,”

  this occurs “where the relationship between the state official sought to be enjoined and the

  enforcement of the state statute is significantly attenuated.” Id. at 333.

         A sufficient relation exists here. The Commissioner “has specific enforcement obligations

  under Virginia Code § 46.2-395 pertaining to the suspension and reinstatement of licenses.”

  Stinnie, 734 F. App’x at 874. The Commissioner argues that he lacks statutory authority to suspend

  licenses. But “[t]he DMV . . . effectuat[es] the suspension for all practical purposes, including for

  law enforcement.” Stinnie, 734 F. App’x at 863; see also Plummer, 408 S.E.2d at 766; Doc. 56 at

  27 (describing the Commissioner’s role as “overseeing the entry or ‘processing’ of the court

  suspension orders into statewide databases”); 11-15-18 Hearing Transcript, attached as Ex. 1, at

  145:18-147:5 (Ford testifying that there would be no license suspension for failure to pay court

  fines and costs if the DMV did not exist).

         The Commissioner thus has “proximity to and responsibility for the challenged state

  action.” S.C. Wildlife, 549 F.3d at 333. His connection with the challenged statute is not

  “significantly attenuated.” Id. Thus, Ex Parte Young applies to permit suit here.




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     D. The clerks are not indispensable parties.

         Court clerks are not necessary parties, much less indispensable ones. Civil Rule 12(b)(7)

  contemplates a motion to dismiss for “failure to join a party under Rule 19.” Rule 19, which

  governs party joinder, “sets forth a two-step inquiry, examining: (1) whether the party is

  ‘necessary’ to the action under Rule 19(a); and (2) whether the party is ‘indispensable’ under Rule

  19(b).” Am. Gen. Life and Acc. Ins. Co. v. Wood, 429 F.3d 83, 92 (4th Cir. 2005). “The burden of

  proof rests on the party raising the defense—here, [the Commissioner]—to ‘show that the person

  who was not joined is needed for a just adjudication.’” Am. Gen. Life, 429 F.3d at 92.

         Court clerks meet neither of the Rule 19(a)(1) categories of necessary parties. First, the

  Court can afford relief in their absence. Plaintiffs can achieve their litigation goal—invalidating

  an unconstitutional statute—without clerks as parties. The clerks’ role is unrelated to the relief of

  enjoining the Commissioner from enforcing Section 46.2-395 and ordering him to reinstate

  suspended drivers’ licenses without fees. See Doc. 84 at Requested Relief ¶¶ e-f.

         In fact, joinder of clerks from all 120 Virginia counties would only muddy the issues.

  Clerks have no discretion at suspension or reinstatement and would have no power to discontinue

  suspensions or to reinstate licenses. Plaintiffs’ claims focus on the Commissioner’s acts of

  suspension and do not relate to any clerk’s acts at the time of a conviction or sentence. The

  Commissioner has not shown that clerks are the other type of necessary party: those who have

  “claimed an interest.” Am. Gen. Life Ins. Co. v. Wood, 429 F.3d 83, 92 (Nov. 14, 2005). Thus,

  court clerks are not necessary parties.

         Even if clerks were necessary, they are not indispensable. “As an initial matter, [the Fourth

  Circuit has] previously admonished that ‘[d]ismissal of a case is a drastic remedy, . . . which should

  be employed only sparingly.’” Trans Energy, Inc. v. EQT Prod. Co., 743 F.3d 895, 901 (4th Cir.



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   2014). Before making its ultimate decision, a court should consider certain equitable factors:

      first, to what extent a judgment rendered in the person’s absence might be prejudicial to
      the person or those already parties; second, the extent to which, by protective provisions in
      the judgment, by the shaping of relief, or other measures, the prejudice can be lessened or
      avoided; third, whether a judgment rendered in the person’s absence will be adequate;
      fourth, whether the plaintiff will have an adequate remedy if the action is dismissed for
      nonjoinder.

   Id. (quoting Yashenko v. Harrah’s NC Casino Co., 446 F.3d 541, 552 (4th Cir. 2006)).

          An evaluation of these factors makes clear that nonjoinder of the court clerks should not

   result in the drastic remedy of dismissal. The most obvious factor here is prejudice: there is no

   prejudice to the clerks or the Commissioner if the clerks are not joined. It is reasonable to assume

   that, if joined, these court clerks would advance the same position as the Commissioner—that the

   statute is constitutional and enforceable. And for purposes of the validity of the challenged statute,

   the interests of court clerks and the Commissioner are “co-extensive.” Jeffries v. Georgia

   Residential Fin. Auth., 678 F.2d 919, 928 (11th Cir. 1982) (finding absent landlords were not an

   indispensable party to a suit challenging the constitutionality of eviction procedures administered

   by a state agency because, in part, they had the same interests in the proceeding as the state

   agency); accord Delta Fin. Corp. v. Paul D. Comanduras & Assocs., 973 F.2d 301, 303 (4th Cir.

   1992) (finding a third party to suit was not indispensable because it claimed “no interest different

   from the interest of the [defendants] that may be impaired by the disposition of this case”).

          Indeed, the Attorney General of Virginia, who represents the Commissioner, would almost

   certainly also represent any clerks as well, negating any prejudice to those absent persons. Marvel

   Characters, Inc. v. Kirby, 726 F.3d 119, 134 (2d Cir. 2013) (“[P]rejudice to absent parties

   approaches the vanishing point when the remaining parties are represented by the same counsel

   . . . .”); Ctr. for Individual Freedom, Inc. v. Ireland, 2008 WL 1837324, at *1 n.1 (S.D. W.Va.

   Apr. 22, 2008) (finding the State Election Commission not indispensable because the Secretary of


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   State was a defendant and represented by the Attorney General); Isadaner v. Beyer, 53 F.R.D. 4,

   6 (E.D. Pa. 1971) (finding that “in the practical sense the nonjoined [persons] will have their day

   in court,” because the joined parties’ counsel represented them and there is “no conflict” of

   interests between the joined and nonjoined parties).

          In contrast, Plaintiffs would suffer significant prejudice if the case is dismissed—they have

   no “adequate remedy if the action were dismissed for nonjoinder.” Fed. R. Civ. P. 19(b); Ohio

   Valley Envtl. Coal., Inc. v. Maple Coal Co., 808 F. Supp. 2d 868, 891 (S.D.W. Va. 2011). The

   Commissioner claims that Plaintiffs do have another remedy because they can challenge, “at the

   time of conviction, the court orders imposing fines and costs, or by later petition[] those courts for

   modification.” Doc. 105 at 15. This so-called remedy of after-the-fact deprivation hearings is

   illusory and turns the due process and equal protection claims on their heads. See infra Section

   II.B. And the heart of this matter is that this “remedy” fails to provide due process. Plaintiffs have

   no alternative remedy to raise their claims if this case is dismissed.

          Finally, National Licorice Co. v. NLRB, 309 U.S. 350 (1940), created a “public rights”

   carve out for Rule 19. Litigation over “public rights” includes claims, like those here, about

   whether the government has taken all legally-mandated prerequisites before acting to affect

   property interests. See, e.g., S. Utah Wilderness Alliance v. Kempthorne, 525 F.3d 966, 967-698,

   969 n.2 (10th Cir. 2008) (the “‘public rights exception’ to joinder rules” applied because plaintiffs’

   claims challenging the legality of the government awarding oil and gas leases were based on the

   public right of having the government undertake certain preliminary actions required by law). In

   other words, Rule 19 does not preclude litigation that seeks to enforce “what are essentially public

   rights, based upon a failure to join indispensable parties.” Nat. Res. Def. Council, Inc. v. Berklund,

   458 F. Supp. 925, 933 (D.D.C. 1978), aff’d, 609 F.2d 553 (D.C. Cir. 1979); accord Jeffries, 678



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   F.2d at 929 (finding action challenging constitutionality of eviction proceedings subject to public

   right exception); Washington v. GEO Grp. Inc., 2018 WL 1963792, at *5 (W.D. Wash. Apr. 26,

   2018); Guardians v. U.S. Fish & Wildlife Serv., 2018 WL 1023104, at *3 (D. Mont. Feb. 22, 2018).

   Thus, even if court clerks were necessary and indispensable parties, because the plaintiffs seek to

   enforce a public right, the case should not be dismissed.

   II.      The Amended Complaint pleads viable claims for relief.

            The Commissioner’s attacks on the legal merits of Plaintiffs’ claims—once again mirroring

   his arguments in the preliminary injunction papers—fare no better than his procedural arguments.

   Taking as true the Amended Complaint’s factual allegations and drawing reasonable inferences in

   Plaintiffs’ favor, Plaintiffs have stated claims upon which relief can be granted. See Iqbal, 556 U.S.

   at 678. The Court should reject the Commissioner’s arguments and deny his motion to dismiss.

         A. Plaintiffs plausibly alleged a facial challenge to the suspension mechanism.

            The Commissioner says that Plaintiffs’ facial challenge must fail because some

   circumstances exist when the statute would be valid. Doc. 105 at 18-19. But this Court held that

   “[Code] § 46.2-395, on its face, does not provide a meaningful opportunity to be heard regarding

   license suspension.” Doc. 126 at 21. “There are no mechanisms in place that allow individuals to

   be heard regarding their inability to pay court fines and costs, and the government’s stated interest

   is not supported where license suspension causes a decrease in debtors’ income.” Id.

            The Commissioner’s argument relies heavily—and exclusively—on United States v.

   Salerno, 481 U.S. 739 (1987). This reliance is misguided. First, Salerno is a contested standard for

   facial challenges. See Wash. State Grange v. Wash. State Repub. Party, 552 U.S. 442, 449 (2008)

   (“[S]ome Members of the Court have criticized the Salerno formulation.”).

            Second, the aspects of this case that involve a facial challenge meet the Salerno standard.

   The statute’s procedural due process deficiencies affect every application of the statute, because
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   the statute does not provide notice, a hearing, or an ability to pay determination for anyone. In

   contrast, in Salerno, the Court found that the Bail Reform Act was facially valid under the Due

   Process Clause because of the Act’s “extensive [procedural] safeguards.” 481 U.S. at 752. The

   Court detailed extensively those procedural safeguards. See id. at 751-52. The protections in

   Salerno do not exist in Section § 46.2-395. See Doc. 126 at 21.

      B. Plaintiffs plausibly alleged a procedural due process claim.

          Plaintiffs alleged a plausible procedural due process claim. See Doc. 126 at 14-21

   (“Plaintiffs demonstrate a likelihood of success on their claim that [Code] § 46.2-395 violates

   procedural due process.”).

          The Commissioner concedes that a property or liberty interest exists. Doc. 105 at 17; see

   also Doc. 126 at 15. But he throws in an extraneous argument that this interest is not “vital and

   essential.” Doc. 105 at 18. This assertion is wrong. Plaintiffs’ interest in their licenses is vital and

   essential to their subsistence. E.g., Doc. 84 ¶¶ 26-40, 95-290; see also Stinnie, 734 F. App’x at

   863-64 (“The license suspensions make it difficult, or even impossible, to maintain

   employment.”). The debatable import of the interest is legally irrelevant here. The acceptability of

   post-deprivation process does not turn on the interest at stake, but on the feasibility of pre-

   deprivation process. Zinermon v. Burch, 494 U.S. 113, 128–29 (1990).

          Plaintiffs have properly pleaded the lack of sufficient notice to allege a plausible procedural

   due process claim. “An elementary and fundamental requirement of due process in any proceeding

   which is to be accorded finality is notice reasonably calculated, under all the circumstances, to

   apprise interested parties of the pendency of the action and afford them an opportunity to present

   their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950).

   Sufficient notice must be more than a “mere gesture.” Id. at 315. Plaintiffs received no



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   constitutionally sufficient notice of the suspension of their licenses. Doc. 84 ¶¶ 55-57. Plaintiffs’

   allegations are plausible enough to survive Rule 12—a conclusion in accord with the Court’s

   holding that Plaintiffs have a likelihood of success in arguing this claim. Doc. 126 at 16-17.

          The Commissioner points to five instances he calls “notice,” none of which are

   constitutionally sufficient. Doc. 105 at 18-19. The so-called “notices” relate to a conviction for a

   substantive offense and provide speculative comment on the potential for license suspension.

   These so-called notices do not carry concrete facts about any impending suspension and do not

   occur close in time to those suspensions. These “notices” are not enough. They are not “tailored

   to the capacities and circumstances of those who are to be heard, nor do they ensure that licensees

   are given a meaningful opportunity to present their case.” Doc. 126 at 19. “Neither the court nor

   the DMV sends any notice of default or suspension to the driver when a payment becomes overdue

   and the suspension takes effect. Instead, the state court only informs the driver prospectively, when

   the fine is first imposed, that her license will be suspended if payment is not made in full.” Stinnie,

   734 F. App’x at 864 n.1. A speculative, prospective notice—that advises only of an option to pay

   and nothing about an ability-to-pay hearing— is, at best, a “mere gesture” and does not constitute

   sufficient notice under the Fourteenth Amendment. Mullane, 339 U.S. at 315.

          Plaintiffs also had no pre-deprivation opportunity to be heard. E.g., Ex. 1 at 16:23-25, 17:1-

   18 (Johnson testifying to no hearing before license suspension); id. at 57:18-58:10 (Dugger

   testifying about the lack of notice); see also Doc. 126 at 19-20. When a state procedure is involved,

   there is a “root requirement that an individual be given an opportunity for a hearing before he is

   deprived of any significant property interest, except for extraordinary situations where some valid

   government interest is at stake that justifies postponing the hearing until after the event.” Boddie

   v. Connecticut, 401 U.S. 371, 379 (1971) (emphasis in original) (footnote omitted); see Weller v.



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   Dep’t of Soc. Servs., 901 F.2d 387, 396 (4th Cir. 1990) (“[T]here is no requirement of a pre-

   deprivation hearing under emergency circumstances.”). The Commissioner cannot argue that this

   case presents the kind of emergency that would justify denial of a pre-deprivation hearing.

          And there are no post-deprivation mechanisms, either. See Doc. 126 at 20. Even if they

   could provide adequate protections, proceedings such as hearings on a motion for show cause

   necessarily occur after an individual’s license is suspended. Va. Code § 19.2-358(A). The

   individual has no right to request such a hearing, because it may be held only on the motion of a

   prosecutor or the court sua sponte. Id. While an individual may avoid more fines or imprisonment

   by showing that his failure to pay was not intentional, the statute expressly provides no opportunity

   to address whether a current or future license suspension for unpaid court debt was or would be

   inappropriate. Id. § 19.2-358(B).

          The Commissioner’s references to Virginia Code § 19.2-354.1 and Virginia Rule 1:24 and

   their contemplation of payment plans do not advance his cause. Even where a payment plan exists,

   if a person defaults, neither the Commissioner nor any other person or entity examines the reason

   for default before (or after) suspending the license. Moreover, even if a Virginia court uses these

   procedures, an individual’s license will be automatically suspended without process upon

   nonpayment, regardless of reason or intent. E.g., Ex. 1 at 39:18-24 (Johnson testifying that license

   was automatically suspended when she missed her payment plan without receiving notice or

   having a hearing); id. at 46:15-47:14 (Dugger testifying that there is no court order of suspension);

   id. at 54:18-55:5, 61:14-25, 66:3-22 (testimony that automatic suspension occurs on 41st day after

   nonpayment across all Virginia counties).

          The Commissioner argues that he has no statutory authority to conduct hearings. Doc. 105

   at 20. That only bolsters Plaintiffs’ case: the statute is constitutionally invalid because it does not



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   provide the pre-deprivation opportunity to be heard. In sum, Plaintiffs had no opportunity to be

   heard on their accused default and later suspension, before (or even after) their suspensions.

   Instead, the “state punishes each and every individual who defaults by automatically suspending

   his or her driver’s license, regardless of the reason for the default.” Stinnie, 734 F. App’x at 863

   (emphasis added). This scheme violates Plaintiffs’ procedural due process rights.

      C. Plaintiffs plausibly alleged that Section 46.2-395 is fundamentally unfair.

          In challenging Plaintiffs’ fundamental fairness argument, the Commissioner ignores the

   key line of cases on point. Beginning with Griffin v. Illinois, the Supreme Court has repeatedly

   held that it offends both due process and fundamental fairness for the state to penalize people for

   the inability to pay state-imposed fines or costs. 351 U.S. 12, 18 (1956) (“Plainly the ability to pay

   costs in advance bears no rational relationship to a defendant’s guilt or innocence and could not

   be used as an excuse to deprive a defendant of a fair trial.”); see also Bearden v. Georgia, 461 U.S.

   660, 667-68 (1983); Tate v. Short, 401 U.S. 395, 397-98 (1971); Williams v. Illinois, 399 U.S. 235,

   240-41 (1970); Mayer v. City of Chicago, 404 U.S. 189, 196-97 (1971).

          Whether a method of punishment is fundamentally unfair turns “on the reasons for non-

   payment.” Bearden, 461 U.S. at 668. The distinction between “willful refusal to pay a fine” and

   inability to pay “is of critical importance.” Id. On the one hand, “it is fundamentally unfair to

   revoke probation automatically” where “the probationer has made all reasonable bona fide efforts

   to pay the fine and yet cannot do so through no fault of his own.” Id. On the other hand, “[i]f the

   probationer has willfully refused to pay the fine or restitution when he has the means to pay, the

   State is perfectly justified in using imprisonment as a sanction to enforce collection.” Id. The

   failure to “inquire into the reasons for the failure to pay” is “contrary to the fundamental fairness

   required by the Fourteenth Amendment.” Id. at 672-73.



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          Recently, the Middle District of Tennessee correctly followed the Griffin line of precedent

   in challenges to a similar driver’s license suspension scheme. The Robinson court held that

      a statute that penalizes or withholds relief from a defendant in a criminal or quasi-criminal
      case, based solely on his nonpayment of a particular sum of money and without providing
      for an exception if he is willing but unable to pay, is the constitutional equivalent of a
      statute that specifically imposes a harsher sanction on indigent defendants than on non-
      indigent defendants.

   2018 U.S. Dist. LEXIS 177769, at *13-14. The court also stated that the Constitution

      is not blind to the commonsense fact that, if the government gives defendants the ostensible
      choice between paying a sum of money or suffering a harsh, non-monetary penalty, then
      the government is, in effect, propounding a harsher rule for defendants who cannot pay the
      sum than for those who can.

   Id. at *14; see also Hixson, 2018 U.S. Dist. LEXIS 114622, at *8 (the Supreme Court “is not blind

   to the commonsense fact that an ultimatum following the formula of ‘the money or your ‘ is a

   different proposition for someone who has the money than for someone who does not”).

          This “commonsense fact” described in the Griffin line of Supreme Court cases, and applied

   more recently in Robinson and Hixson, goes to the heart of fundamental fairness, which is the

   “touchstone of due process.” Gagnon v. Scarpelli, 411 U.S. 778, 790 (1973). Yet, except for a

   discrete footnote citing Bearden, the Commissioner fails to address a single one of these cases.

          Instead, the only precedent the Commissioner discusses in its fundamental fairness

   argument is Mathews v. Eldridge, 424 U.S. 319 (1976). The Commissioner claims that Mathews

   provides the relevant inquiry here because Plaintiffs challenge “a collateral ‘deprivation of

   property,’ rather than a part of the criminal trial itself.” Doc. 105 at 23. The Commissioner misses

   the mark. Mathews is about procedural due process, not the fundamental fairness inquiry.

          The Commissioner makes “no mention” of Griffin, Williams, Tate, Mayer, or Bearden in

   his briefing on fundamental fairness and due process. 2018 U.S. Dist. LEXIS 177769, at *32.

   “Rather than offering any argument why the Supreme Court’s numerous cases about indigent


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   criminal defendants would not apply here, the [defendant] simply chooses to set forth his argument

   as if those cases never existed.” Id. “Such an approach does little to undermine the plaintiffs’

   demonstrated likelihood of success on the merits.” Id. The Court should hold that Plaintiffs

   plausibly alleged a claim based on fundamental fairness and deny the Commissioner’s motion.

      D. Plaintiffs plausibly alleged an equal protection claim.

          Treating a low-income citizen who is willing but unable to pay, differently from a person

   with means who can and does pay, violates Equal Protection. The Attorney General acknowledged

   as much in the similar context of Virginia’s cash bail system: “disparate treatment of low-income

   defendants and those with money could raise Equal Protection Concerns.” Doc. 103-6 at 3.

   Similarly, Equal Protection is likely violated here where Virginia’s license suspension scheme

   treats differently “low-income defendants and those with money.” See id.

          In response, the Commissioner disregards facts establishing that Section 46.2-395 treats

   similarly situated individuals differently. The Commissioner then misconstrues the law in arguing

   that a successful equal protection claim requires intentional or purposeful discrimination.

   Additionally, the Commissioner’s rational basis review of Section 46.2-395 ignores the difference

   between being unable versus unwilling to pay court debt.

          1. Section 46.2-395 treats indigent people harsher than others similarly situated.

          The Commissioner tries to circumvent Plaintiffs’ equal protection claim by incorrectly

   describing the relevant comparison as between those who have complied with court orders and

   those who are in default. But the relevant comparison is between those who can pay their court

   debt and those who cannot. See, e.g., Bearden, 461 U.S. at 665 (stating that the relevant comparison

   is between those able and unable to pay a fine). Plaintiffs are willing but cannot pay. E.g., Ex. 1 at

   15:16-16:22, 17:12-18:25, 33:21-35:5, 39:1-14, 41:4-11 (Johnson); see also id. at 60:9-25



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   (payment plans in one county may not be acceptable in another county); id. at 79:13-82:5, 84:17-

   86:2, 86:3-87:23, 89:13-90:4 (testimony about how plaintiffs fall below the self-sufficiency

   standard and thus cannot pay); id. at 109:4-110:4, 111:3-112:14, 119:9-120:19 (testimony about

   how loss of driver’s license makes it harder to pay court debt). The driver’s license suspension

   scheme treats Plaintiffs differently than those who are willing and can pay.

          Differential treatment based on wealth is impermissible under Fourth Circuit law. The state

   may not penalize a debtor “as long as his default is attributable to his poverty, not his contumacy.”

   Alexander v. Johnson, 742 F.2d 117, 124 (4th Cir. 1984). Furthermore, “[t]he state’s initiatives in

   this area naturally must be narrowly drawn to avoid . . . creating discriminating terms of repayment

   based solely on the defendant’s poverty.” Id. at 123-24. In carrying out these initiatives, the state

   “must take cognizance of the individual’s resources, the other demands on his own and family’s

   finances, and the hardships he or his family will endure if repayment is required.” Id. at 124.

          The Robinson court made similar observations about the disparate treatment of those who

   are able versus unable to pay fines in the context of a driver’s license suspension statute:

      Exacerbating the counterproductive nature of the suspension regime is its tendency to trap
      drivers in a cycle of repeated violations and ever-mounting debt. A driver may begin by
      getting a single ticket for a minor traffic violation. If he cannot pay the resulting debt,
      however, his license will [likely] be suspended . . . . The suspended driver, faced with a
      need to engage in essential life activities and a paucity of alternative transportation options,
      may choose to drive, despite his suspension. . . .

      A driver who violates his suspension . . . may find himself subject to new fines, new court
      costs, and new litigation taxes. Because he could not pay the original traffic debt, he will
      be just as unable to pay the new debt, and the cycle will begin again . . . . The [defendant]
      has not identified or asserted any legitimate governmental interest in allowing a single
      traffic ticket to serve as the gateway to a mounting cycle of unpayable debt that keeps a
      fully qualified driver off of the road and out of productive economic life.

   2018 U.S. Dist. LEXIS 177769, at *17-18.

          This Court need look no further than Robinson. The same cycle identified in Robinson is

   at play under the Virginia license suspension scheme. Plaintiffs have shown that Virginians who

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   violate the same traffic or criminal laws obtain vastly different outcomes as a direct result of their

   wealth. Section 46.2-395 is not narrowly drawn as required by Alexander, nor does it account for

   debtors’ financial circumstances. Section 46.2-395 treats those willing but unable to pay their court

   debt more harshly than those willing and able to pay, violating the Equal Protection Clause.

          2. Plaintiffs need not establish intentional or purposeful discrimination.

          To succeed on the equal protection claim, Plaintiffs do not have to establish that different

   treatment results from intentional or purposeful discrimination. While some equal protection

   doctrines require a showing of purposeful discrimination, the Griffin line of cases involving

   differential treatment, as here, does not. See M.L.B. v. S.L.J., 519 U.S. 102, 103 (1996) (confirming

   that the Griffin line of cases does not require purposeful discrimination).

          The Supreme Court rejected the claim that later cases requiring discriminatory intent—like

   Washington v. Davis, 426 U.S. 229 (1976)—affect the Griffin line of cases. See M.L.B., 519 U.S.

   at 126-27 (“Washington v. Davis . . . does not have the sweeping effect respondents attribute to

   it.”). The M.L.B. Court reiterated the concern of Griffin that the justice system not be “grossly

   discriminatory in its operation.” Id. The Court rejected a discriminatory intent requirement in the

   equal justice arena: “this Court has not so conceived the meaning and effect of our 1976

   ‘disproportionate impact’ precedent.” Id.; see also Alexander, 742 F.2d at 125 (analyzing whether

   the scheme is “narrowly drawn to avoid unfairness and discriminatory effects” (emphasis added)).

          Even so, Plaintiffs sufficiently allege intentional and purposeful discrimination. Legislative

   history and historical background are relevant considerations to “whether discriminatory intent

   motivates a facially neutral law.” N.C. State Conference of NAACP v. McCrory, 831 F.3d 204, 220

   (4th Cir. 2016). Plaintiffs extensively alleged that the historical background of Virginia’s license-

   for-payment scheme shows that the General Assembly enacted the current statute knowing that



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   many defendants were unable to pay their debt and still imposed additional punishment on them

   for failure to do so. E.g., Doc. 84 ¶¶ 59-61; see also id. ¶ 345.

           Disparate impact is also a relevant consideration about whether discriminatory intent

   exists. See McCrory, 831 F.3d at 220-21 (including disproportionate impact in “a nonexhaustive

   list of factors to consider” when determining whether “the legislature enact[ed] a law ‘because of,’

   and not ‘in spite of,’ its discriminatory effect”). The crux of Plaintiffs’ argument is that Section

   46.2-395 creates a disparate impact between those want to but cannot pay their court debt and

   those who want to and can pay that debt. Thus, Plaintiffs have sufficiently alleged discriminatory

   intent, even though they can succeed on their equal protection claim with no such allegation.

           3. Section 46.2-395 fails rational basis review.

           In the equal protection context, rational basis review requires that there be “a rational

   relationship between the disparity of treatment and some legitimate governmental purpose.” King

   v. Rubenstein, 825 F.3d 206, 221 (4th Cir. 2016). Thus, to survive rational basis review, the

   Commissioner must establish that there is a rational relationship between his goal of getting

   indigent people to pay their court debt and suspending Plaintiffs’ constitutionally protected

   property interests in their driver’s licenses and the attendant liberty interests in being able to drive.

           In conducting a rational basis review of the equivalent suspension statute in Tennessee, the

   Robinson court made these findings in determining that the statute was irrational:

       A driver’s license suspension cannot coerce an indigent person into paying his traffic debt,
       because his failure to pay was never voluntary in the first place. What a suspension does
       do, however, is impose a significant material hardship on the driver that is likely to make
       him less able to develop the resources and, if possible, the economic self-sufficiency
       necessary to pay the underlying debt. Suspending the driver’s license of an indigent person
       because he has failed to pay his traffic debt is not only wholly ineffective, but powerfully
       counterproductive.

                                                     ....

       [Thus,] “the application of [the equivalent suspension statute] to indigent drivers is so

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      profoundly counterproductive, in light of the centrality of driving to economic life in
      Tennessee, that it cannot meet the bare minimum standard of rationality; and that no other
      rational basis exists to sustain the state’s policies.

   2018 U.S. Dist. LEXIS 177769, at *17, 21.

          The Hixson court reached the same conclusion:

      Revocation [of a license] would not be an effective mechanism for coercing payment from
      a truly indigent debtor, because no person can be threatened or coerced into paying money
      that he does not have and cannot get.

                                                   ....

      [A]s applied to indigent drivers, the law is not merely ineffective; it is powerfully
      counterproductive. If a person has no resources to pay a debt, he cannot be threatened or
      cajoled into paying it; he may, however, become able to pay it in the future. But taking his
      license away sabotages that prospect. For one thing, the lack of a driver’s license
      substantially limits one’s ability to obtain and maintain employment. Even aside from the
      effect on employment, however, the inability to drive introduces new obstacles, risks, and
      costs to a wide array of life activities, as the former driver is forced into a daily ordeal of
      logistical triage to compensate for his inadequate transportation. In short, losing one’s
      driver’s license simultaneously makes the burdens of life more expensive and renders the
      prospect of amassing the resources needed to overcome those burdens more remote.

      Because driving is necessary for so many important life activities, some Tennesseans
      whose licenses have been revoked continue to drive, despite the state’s revocation of their
      privileges. . . . As a result, a license revocation based on court debt from a single conviction
      may begin a cycle of subsequent convictions and mounting court debt that renders the
      driver increasingly unable to amass the resources necessary to get his license back. . . . This
      propensity to create a debt spiral further exacerbates the counterproductive nature of
      Tennessee’s scheme, as applied to indigent drivers. Not only is the law ineffective at
      collecting debt; not only is it counterproductive with regard to existing debt; but, in at least
      some cases, it affirmatively leaves more unpayable debt it its wake.

   2018 U.S. Dist. LEXIS 114622 at *11, 12-14.

          As in Robinson and Hixson, the Commissioner cannot establish any rational relationship

   between his goal of getting indigent people to pay their court debt and suspending Plaintiffs’

   driver’s licenses. The Commissioner says that, “[b]y imposing a motivation to accomplish what

   an individual might otherwise be disinclined to do (i.e., pay money to the court), the suspension

   of driver’s licenses for non-payment of court-imposed fees and costs is rationally-related to these


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   legitimate government purposes.” Doc. 105 at 24. This is an irrational, ineffective, and

   counterproductive argument as applied to indigent people who are willing but unable to pay.

          The Commissioner also incorrectly cites City of Milwaukee v. Kilgore, 532 N.W.2d 690

   (Wis. 1995) and In the Interest of M.E.G., 2002 Tex. App. LEXIS 1948 (Tex. Ct. App. Mar. 14,

   2002) to argue that “[s]imilar purposes have been upheld by other courts under rational-basis

   review.” Doc. 105 at 26 & n.104. The statute at issue in Kilgore provided that “the suspension will

   not be enforced against any individual who is able to demonstrate an inability, for good cause or

   indigence, to pay the fine.” 532 N.W.2d at 698 (emphasis added). And the M.E.G. court never

   addressed a person’s ability or inability to pay a debt. See 2002 Tex. App. LEXIS 1948, at *1-2

   (upholding the trial court’s “order suspending [appellant’s] driver’s license following his failure

   to pay child support”). Thus, the Commissioner has shown no viable support for his argument.

      E. Plaintiffs plausibly alleged extraordinary collection efforts violate equal protection.

          The Commissioner tries to downplay both the coerciveness of Section 46.2-395 and the

   Commissioner’s role, to claim that the DMV does not engage in extraordinary collection efforts.

   Doc. 105 at 24. Both assertions are incorrect and the Robinson and Hixson courts—again, missing

   from the Commissioner’s brief—concluded as much for a similar suspension scheme.

          First, the Commissioner cannot shift the blame for the coerciveness of Section 46.2-395

   away from the DMV Commissioner and to the state courts. Plaintiffs have already set forth how

   the DMV plays an integral part in Virginia’s license suspension scheme. See supra Section I.B.

   The Commissioner cannot shift responsibility to state courts to erase Plaintiffs’ Article III standing

   or avoid the DMV’s role in extraordinary (and unconstitutional) collection efforts.

          Second, not only is the Commissioner responsible for implementing suspensions, but the

   license suspension scheme constitutes extraordinary collection efforts violating James v. Strange,

   407 U.S. 128 (1972), and the Equal Protection Clause. That Clause ensures (1) that debtors to the
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   state are not treated differently from civil debtors and (2) that debtors have protection for basic

   necessities and the means of making a living. In Strange, the Supreme Court held that a statute

   violated the Equal Protection Clause because it “strip[ped] from indigent defendants the array of

   protective exemptions . . . erected for other civil judgment debtors.” 407 U.S. at 135; see also

   Alexander, 742 F.2d at 124 (holding that, in accordance with Strange, “the [indigent] defendant

   cannot be exposed to more severe collection practices than the ordinary civil debtor”).

          Here, by automatically suspending driver’s licenses for unpaid court debt, Section 46.2-

   395 exposes indigent defendants to a penalty that nearly all civil debtors do not face. That alone is

   unconstitutional under Strange and its progeny. Alexander, 742 F.2d at 124. 2

          Additionally, driver’s license suspension, much like the scheme in Strange, fails to afford

   the indigent defendant basic protections for necessities and livelihood. In Virginia, the “Poor

   Debtor’s Exemption” shields civil debtors from creditors’ attempts to claim certain basic

   belongings, including a motor vehicle of modest value. Va. Code § 34-26. And, unlike Plaintiffs,

   civil garnishees in Virginia can count on protections against garnishment of minimal income. See

   id. § 34-29(a) (providing that at least $290 per week in income is protected against garnishment);

   42 U.S.C. § 407(a) (providing that “none of the moneys paid” under the Social Security Act can

   be “subject to execution, levy, attachment, garnishment, or other legal process”).

          Other federal courts have already validated Plaintiffs’ reasoning. The Robinson court held

   that the Tennessee license suspension statute violated the Equal Protection Clause because “a

   state’s uniquely harsh treatment of a class of indigent debtors cannot be carried out in ‘such a




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     Only unpaid judgments for traffic accidents where the at-fault defendant was uninsured may
   result in a license suspension. See Va. Code § 46.2-417. This rule for a specific sub-variety of civil
   debtor does not change that Section 46.2-395 exposes the indigent debtor to “more severe
   collection practices than the ordinary civil debtor.” Alexander, 742 F.2d at 124 (emphasis added).
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   discriminatory fashion’ that it ‘blight[s] . . . the hopes of indigents for self-sufficiency and self-

   respect,’ merely because the indigent debtor owes a particular type of debt to the government rather

   than a private party.” 2018 U.S. Dist. LEXIS 177769, at *21-22 (quoting James, 407 U.S. at 142-

   43). The court reasoned:

      Traffic debt, like ordinary judgment debt, can be collected through standard civil collection
      tools, such as garnishment and attachment. . . . Driver’s license suspensions amount to an
      additional, harsh mechanism that is directed not merely at putting resources in the hands
      of the creditor but in disrupting the life of the debtor, and traffic debtors are made subject
      to that mechanism, whereas comparable private debtors are not. Under Tennessee law, a
      financially secure civil judgment debtor who fails to pay what he owes simply out of
      defiance, greed, or spite faces no risk of losing his license, whereas a person who wishes
      to, but cannot, pay a minor traffic ticket is likely to have his license suspended. That wide
      differential in treatment runs afoul of James v. Strange, and none of the facts or argument
      raised by the [defendant] in his most recent briefing undermines such a holding.

   Id. at *36-37. In sum, “[b]ecause indigent traffic debtors are subject to an exceedingly harsh

   collection scheme, while other judgment debtors are not, the state’s policies violate the

   constitutional guarantee of equal protection.” Id. at *22.

          The Hixson court held similarly. The suspension statute “threaten[ed] serious financial

   harm to those who run afoul of it,” and the court held that “taking a person’s driver’s license away

   is . . . a threat to the debtor’s basic subsistence.” Hixson, 2018 U.S. Dist. LEXIS 114622, at *141.

   The court noted “just how severe a sanction the revocation of a license is and just how greatly it

   harms the debtor’s basic subsistence or ability to build economic self-sufficiency.” Id.

          These courts have held that a similar driver’s license suspension statute is not “a far cry

   from the restrictions at issue in James v. Strange,” as the Commissioner claims. Doc. 105 at 24.

   Plaintiffs plausibly alleged that Section 46.2-395 violates the Equal Protection Clause.

                                             CONCLUSION

          Plaintiffs ask the Court to deny the Commissioner’s motion to dismiss.




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   Dated: January 8, 2019

                                      By:    /s/ Travis C. Gunn
                                             Jonathan T. Blank (VSB No.: 38487)
                                             Travis C. Gunn (VSB No.: 86063)
                                             Benjamin P. Abel (VSB No.: 88961)
                                             Brooke A. Weedon (VSB No.: 91164)
                                             Alyssa M. Pazandak (pro hac vice)
                                             MCGUIREWOODS LLP
                                             Court Square Building
                                             310 Fourth Street NE, Suite 300
                                             Post Office Box 1288
                                             Charlottesville, VA 22902
                                             Ph: (434) 977-2509
                                             Fax: (434) 980-2258
                                             jblank@mcguirewoods.com

                                             Angela A. Ciolfi (VSB No.: 65337)
                                             Pat Levy-Lavelle (VSB No.: 71190)
                                             LEGAL AID JUSTICE CENTER
                                             1000 Preston Avenue, Suite A
                                             Charlottesville, VA 22903
                                             Ph: (434) 529-1810
                                             Fax: (434) 977-0558
                                             angela@justice4all.org

                                             David P. Baugh (VSB No.: 22528)
                                             DAVID P. BAUGH, ESQ., PLC
                                             2025 E. Main Street, Suite 114
                                             Richmond, VA 23223
                                             Ph: (804) 743-8111
                                             Fax: (804) 225-8035
                                             dpbaugh@dpbaugh.com

                                             Leslie Kendrick (VSB No.: 90104)
                                             580 Massie Rd.
                                             Charlottesville, VA 22903
                                             Ph: (434) 243-8633
                                             Fax: (434) 924-7536
                                             kendrick@virginia.edu

                                             Counsel for Plaintiffs




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                                   CERTIFICATE OF SERVICE
          I hereby certify that on January 8, 2019, I electronically filed the foregoing instrument with

   the Clerk of Court using the CM/ECF System, which will send a notification of such filing to the

   following CM/ECF participants:

          Janet W. Baugh (VSB No. 44649)
          Senior Assistant Attorney General
          Margaret Hoehl O’Shea (VSB No. 66611)
          Christian A. Parrish (VSB No. 446427)
          Assistant Attorneys General
          Office of the Attorney General
          202 North Ninth Street
          Richmond, Virginia 23219
          Phone: (804) 786-4596
          Fax: (804) 786-4239
          E-mail: jbaugh@oag.state.va.us

          David M. Parker
          Neil K. Gilman
          Maya M. Eckstein
          Stuart A. Raphael
          Trevor S. Cox
          Hunton Andrews Kurth LLP
          Riverfront Plaza, East Tower
          951 East Byrd Street
          Richmond, VA 23219
          E-mail: dparker@HuntonAK.com
                  ngilman@HuntonAK.com
                  meckstein@HuntonAK.com


                                                 By:     /s/ Travis C. Gunn




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